Case o-ly-/4o01-aSt DOC 1O0-0 FnuedO/lO/iy centered O//LO/LY Lold fice

Fill in this information to identify the case:

59 Sands Point LLC

Debtor name

 

Eastern District of

United States Bankruptcy Court forthe:

Case number (If known):

 

 

Official Form 206Sum

Summary of Assets and Liabilities for Non-Individuals

| Part 4: Summary of Assets

 

CJ Check if this is an
amended filing

12/15

 

1, Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

ia. Real property:
Copy ling 88-1rOm SCHOGHE AUB scssssccesenasvwnsvanievaesveunvoesetsudawetevatiws wos teeslea teae ete TasbaeaUayee et betas days eta nce eonuneetenents:

ib. Total personal property:
Copy line 91A from Schedule A/B.o.....eccccceccccccscssesesessssscsscscscsscsceavevsnseravevsusssevevevavstsavavasacavacavavssasavsnssiessssseseserasevsees

ic. Total of all property:
Copy line S2 franrSehed yl ANB ccc ccccccsenwasneeseasanawascecesvarca scutes tue taunt aga UaU VAL ea UE SERRE STEERS RRR:

ar Summary of Liabilities

 

 

 

 

 

 

$ 0.00 _
s 3,500,000.00_

 

 

 

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

Copy the total dollar amount listed in Column A, Amount of claim, fromline 3 of Schedule D......-..cccccccscccsesee LAS

3. Schedule E/F: Creditors Who Have Unsecured Claims(Cfficial Form 206E/F)

3a. Total claim amounts of priority unsecured claims:
Copy the total claims fromPart 1 fromline 5a of Schedule E/F ooo... ccc ccc ccccccccescccseseeeseestestesesenscssvssensvarsnateveansetateeeese

3b. Total am ount of claims of nonpriority am ount of unsecured claims:
Copy the total of the amount of claims fromPart 2 fromline 5b of Schedule E/E oo... cecccccceesesceseeees sapiarnnrveuemessimnscit

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Lines 2+ 3a+ 3b

Official Form 206Sum Sum mary of Assets and Liabilities for Non-Individuals

330,467,094.42

$ 0.00

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s 30,693,518.55

 

 

 

page 1
